Case 1:23-cv-00335-JAW Document 8 Filed 10/03/23 Pagelof2 PagelD#: 28

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MAINE

JOHN ANTHONY CASTRO
12 Park Place, Mansfield, TX 76063

Plaintiff,
FB

SECRETARY OF STATE, SHENNA
BELLOWS
148 State House Station, Augusta, Maine
04333-0148

Case No. 1:23-cv-00335-JAW

DONALD JOHN TRUMP
1100 S. Ocean Blvd, Palm Beach, FL 33480

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Defendants.

NOTICE OF DISMISSAL
Pursuant to Fed. R. Civ. P. 41(a)(1)(A)Q), Plaintiff files this notice of dismissal before

either opposing party has either served an answer or motioned for summary judgement.

Respectfully submitted,

Dated: September 27, 2023, By: 4s/ John Anthony Castro

John Anthony Castro

12 Park Place

Mansfield, TX 76063

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Plaintiff Pro Se
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CERTIFICATE OF SERVICE

On September 27, 2023, I submitted the foregoing document with the Clerk of this Court.
It is further certified that all other parties are CM/ECF users and that service of this motion will be

made upon them via CM/ECF. If not, they will be served via U.S. postal mail.

/s/ John Anthony Castro
John Anthony Castro

